                           UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


 TENNESSEE RIVERKEEPER, INC.,

        Plaintiff,                                 Case No. 3:23-cv-01369

 v.                                                Chief Judge Waverly D. Crenshaw, Jr.
                                                   Magistrate Judge Alistair E. Newbern
 CITY OF LEBANON, TENNESSEE,

        Defendant.


                                             ORDER

       The parties and Mediator Robert Martineau have notified the Court that they have reached

a settlement in principle of all claims and request this matter be stayed to conclude the settlement

process. (Doc. Nos. 34, 35.) The motion is GRANTED. The parties are ORDERED to make the

necessary filings to terminate the action by August 12, 2025.

       All outstanding deadlines in this matter are STAYED pending the parties’ filing.

       It is so ORDERED.



                                                     ____________________________________
                                                     ALISTAIR E. NEWBERN
                                                     United States Magistrate Judge




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